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                       UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF IOWA


                                         )
 IOWA ASSOCIATION OF                     )
 BUSINESS AND INDUSTRY,                  )
 et al.,                                 )
                                         )
         Plaintiffs,                     )    No. 4:25-cv-00211
                                         )
 v.                                      )        Notice of Iowa Association of Business
                                         )              and Industry Membership
 DOUG OMMEN, in his official             )
 capacity as Insurance Commissioner      )
 of Iowa,                                )
                                         )
         Defendants.                     )
                                         )


        Per the Court’s order (ECF No. 17), attached is a list of the members of the Iowa

Association of Business and Industry.



                              /s/ Ryan G. Koopmans
                              Ryan G. Koopmans
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                              500 East Court Ave., Suite 420
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                   Anthony F. Shelley (pro hac vice application forthcoming)
                   Joanne Roskey (pro hac vice application forthcoming)
                   DeMario M. Carswell (pro hac vice application forthcoming)
                   MILLER & CHEVALIER CHARTERED
                   900 Sixteenth St., NW
                   Washington, DC 20006
                   Telephone: (202) 626-5800
                   Email: ashelley@milchev.com

                   Counsel for Plaintiffs Iowa Association of Business and Industry,
                   Iowa Bankers Benefit Plan, Iowa Laborers District Council Health
                   and Welfare Fund, Des Moines Orthopaedic Surgeons PC, and
                   Iowa Spring Manufacturing & Sales Company




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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 1, 2025, I electronically filed the foregoing with the Clerk of

Court using the CM/ECF System, which will send notice of such filing to the following

registered CM/ECF users:

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       Counsel for Defendant



                                               /s/ Ryan G. Koopmans
                                              Ryan G. Koopmans
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   Company Name
   10Fold Architecture and Engineering
   21st Century Rehab, PC
   3M
   3rd Degree Screening, Inc.
   5L Performance Group
   A to Z Drying
   A.Y. McDonald Mfg. Co.
   Access Energy Cooperative
   Accumold LLC
   Accuro Solutions
   AddingZEROS Executive Development
   ADF Systems, LTD.
   Advance Services, Inc.
   Advanced Automation, Inc.
   Aflac
   Ag Ventures Alliance
   AGP / Ag Processing Inc.
   Agri Drain Corporation
   Agri-Industrial Plastics Co.
   Ajinomoto Health & Nutrition North America
   All Types Logistics, LLC
   Alliant Energy
   Allsteel
   ALM Positioners, Inc.
   Alter Logistics Company
   Alter Trading Corporation
   Altria Client Services LLC
   Altus CXO
   Amazon
   American Chemistry Council
   American Council of Engineering Companies of Iowa
   American Fuel & Petrochemical Manufacturers
   American Packaging Corporation
   American Petroleum Institute
   American Pop Corn Co.
   American Property Casualty Insurance Assoc. (APCIA)
   American Solutions for Business

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   American Tort Reform Association
   America's Cultivation Corridor
   Ames Regional Economic Alliance
   Amsted Rail
   Anderson Erickson Dairy Co.
   Anthologic
   Arconic
   Associated Computer Systems, Ltd. (ACS)
   Associated General Contractors of Iowa
   Association of Equipment Manufacturers (AEM)
   AssuredPartners
   AT&T
   Atlantic Coca-Cola Bottling Company
   ATW Training Solutions
   Auto-Jet Muffler Corp.
   Baker Group
   Bank Iowa Corporation
   Bank of America
   Bankers Trust
   Bartlett Instrument
   Barton Solvents, Inc.
   Baton Global
   Bayer Crop Science
   BCC Advisers
   Behn Ridge Systems, Inc.
   Belin McCormick P.C.
   Bemrich Electric
   Bing Bang
   Bison Equity Group
   Black Fox Technology Inc.
   Black Hills Energy
   Blue-9 Pet Products
   Bodeans Wafer Company, LLC
   Boyd Jones
   Breiholz Construction Company
   Bridgestone Americas, Inc.
   BrownWinick
   Bunge North America, Inc.
   Business Record
   Camblin Mechanical, Inc.

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   Canadian National Railway Company / CN
   Capital Sanitary Supply Co. Inc.
   Capture Management Solutions
   Cardinal IG Company
   Cargill, Inc.
   Carl A. Nelson & Company / CANCO
   Carson Wealth
   Casey's General Stores, Inc.
   Cashatt Warren Family Law, P.C.
   Cass/Atlantic Development Corp.
   Caterpillar, Inc.
   CCB Packaging, Inc.
   CCMSI
   Cedar Rapids Bank & Trust
   Cedar Rapids Metro Economic Alliance
   Cemen Tech, Inc.
   Central College
   CENTRO, Inc.
   CEO Independent Advisor, LLC
   CF Industries Nitrogen LLC
   CFO Systems, LLC
   Chevron
   CIBC Bank USA
   Cigna
   CIPCO-Central Iowa Power Cooperative
   CIRAS
   CIT Signature Transportation
   Clean Grid Association
   CliftonLarsonAllen LLP
   Climax Molybdenum Co.
   Clinton Community College
   Clow Valve Co.
   CMBA Architects
   Coilcraft, Inc.
   Colewell Automation
   Collins Aerospace
   Commerce Bank
   Community Bankers of Iowa
   Community Colleges for Iowa
   Community Savings Bank

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   Community State Bank
   ConAgra Brands
   Conductix-Wampfler
   Confluence
   Conlon Construction
   Connectify HR
   Consulate General of Canada
   Consumers Energy
   Continental Cement Co.
   Corn Belt Power Cooperative
   CornerPost Marketing
   Cornerstone Government Affairs
   Corridor Media Group
   Corteva Agriscience
   Cottingham & Butler, Inc. / SisCo
   Council Bluffs Area Chamber of Commerce
   Country Maid
   Cox
   Cozzini
   CRB
   Creative Planning Business Services
   Crystal Clean
   Crystal Clear Water, Inc.
   Crystal Cold
   Curbtender
   Curries Division of AADG, Inc.
   Cushman & Wakefield Iowa Commercial Advisors
   Dana Company/The
   Dane Street
   De Jong Manufacturing, Inc.
   de Novo Marketing
   Deaf Services Unlimited, Inc.
   Dean Snyder Construction
   Deco Products Company LLLP
   Dee Zee, Inc.
   Deere & Company
   Deloitte
   Delta Dental of Iowa
   Den Hartog Industries, Inc.
   Dentons Davis Brown

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   Des Moines Area Community College
   Des Moines Orthopedic Surgeons
   Des Moines Performing Arts
   Dexter Laundry
   Diamond V Mills, Inc.
   Diamond Vogel Paint
   DICA Marketing Co. Inc.
   Dickinson, Bradshaw et al.
   Dickson Industries, Inc.
   Discover Ames
   DoorDash
   Downing Construction Inc.
   Dubuque Bank & Trust Company
   Dupaco Community Credit Union
   East Penn Manufacturing Co., Inc.
   Eastern Iowa Community College District
   Eastern Iowa REC
   Economy Advertising Company
   EFCO Corp.
   EHS Support Source
   Eide Bailly, LLP
   Eide Walton
   EIDP, Inc.
   Electronic Engineering
   Elkhart Plastics, Inc.
   Embassy Suites Des Moines Downtown
   EMC Insurance Companies
   Emerson
   Employee & Family Resources (EFR)
   Energy Transfer LP
   Engineered Building Design, L.C.
   Estes Construction
   Exec 1 Aviation
   Express Logistics, Inc.
   Faegre Drinker
   Fairfield Economic Development Association
   Faith Baptist Bible College & Seminary
   Far Reach
   Farmers Mutual Hail Insurance Company of Iowa
   FBi Buildings

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   Federation of Iowa Insurers
   FedEx Corporation
   FIN Strategies
   First Bank
   First Interstate Bank
   First National Bank
   First Whitney Bank and Trust
   Fitness Sports
   Five Seasons Media LLC
   Forest City Economic Development
   Forvis Mazars
   Fratco, Inc.
   Fredrikson & Byron, P.A.
   fullCIRCLE creative + coaching, LLC
   G&A Partners
   Garden & Associates LTD
   Garman Partners
   Geater Machining & Mfg., Co.
   Gelita USA Inc.
   Genentech, Inc.
   General Mills Operations Inc.
   Genova Technologies
   Gerdau
   GHD
   Gilliland Group at RBC Wealth Management
   Google
   Graham Construction Central Iowa Office
   Grand View University/The Jacobson Institute
   Greater Burlington Partnership
   Greater Des Moines Partnership
   Greater Dubuque Development Corporation
   Greater Fort Dodge Growth Alliance
   Greater Iowa City, Inc.
   Greater Muscatine Chamber of Commerce & Industry
   Greater Ottumwa Partners in Progress
   Green Products Co.
   GreenState Credit Union
   Grinnell Mutual Reinsurance Company
   Grow Cedar Valley
   GrowClinton

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   GROWMARK, Inc.
   Guarantee Roofing, Siding, and Insulation Co., LLC
   Guthrie County Rural Electric Cooperative Assn
   Hancock County Economic Development Corp
   Hanigan Law Group, PLC
   Hansen McClintock & Riley
   Harlan Newspapers
   Hawkeye Community College
   Hawkeye Steel Products, Inc.
   HCM Plastics Inc.
   HDH Advisors, LLC
   HealthPartners
   Heart of America Group
   Hearth Technologies - Mt. Pleasant
   Heartland Companies
   Heidelberg Materials US Cement LLC
   Helena Industries, LLC
   Henkel Construction Company
   Henning Companies, LLC
   Henningsen Construction, Inc.
   Heuss Printing, Inc.
   Hills Bank and Trust Company
   HNI Corporation
   HNTB Corporation
   Hockenberg Search
   Hog Slat, Inc. - Midwest Division
   Holmes, Murphy & Associates, Inc.
   Home Builders Association of Iowa
   Homemakers Plaza Incorporated
   HON Company, The
   Honkamp, P.C.
   Hormel Foods Corporation
   Hubbell Realty Company
   Ideal Energy Inc.
   IFP Motion Solutions Inc.
   In the Bag
   Indian Hills Community College
   intellicents
   International Paper Company
   Interpower Corporation

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   Interstates
   Invenergy Renewables LLC
   INVISION Architecture Ltd.
   Iowa American Water Company
   Iowa Area Development Group L.L.C.
   Iowa Association of Electric Cooperatives
   Iowa Bankers Association
   Iowa Biotech Association
   Iowa Business Growth Company
   Iowa Central Community College
   Iowa College Foundation
   Iowa Communications Alliance
   Iowa Credit Union League
   Iowa Gaming Association
   Iowa Governor's STEM Advisory Council
   Iowa Grocery Industry Association
   Iowa Illinois Safety Council
   Iowa Institute for Cooperatives
   Iowa Jobs for America's Graduates (iJAG)
   Iowa Lakes Community College
   Iowa Lakes Corridor Development Corp.
   Iowa Lakes Electric Cooperative
   Iowa Lean Consortium
   Iowa Limestone Producers Assn.
   Iowa Mold Tooling Co.
   Iowa Motor Truck Association
   Iowa Northern Railway Company
   Iowa Optometric Association
   Iowa Premium LLC
   Iowa Propane Gas Association
   Iowa Restaurant Association
   Iowa Select Farms, L.P.
   Iowa Small Business Development Centers
   Iowa Society of CPAs
   Iowa Soybean Association
   Iowa Spring Manufacturing, Inc.
   Iowa Taxpayers Association
   Iowa Utility Association
   Iowa Valley Community College District
   Iowa Western Community College

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   ISG
   ISU Research Park
   ITA Group, Inc.
   ITC Midwest
   Jackson Mfg., Inc.
   Jim Pattison Lease
   JLL
   JM Tax Advocates
   Johnson Machine Works
   Joyce Consulting, Inc.
   JPMorgan Chase Bank
   Kading Properties
   KEDbluestone
   Keen Project Solutions
   Kemin Industries, Inc.
   Kendall Hunt Publishing/Westmark Enterprises, Inc.
   Kent Worldwide
   Kiefer Manufacturing
   Kinetic Action Partners
   Kinetic Technologies LLC
   King's Material, Inc.
   Kinzler Corporation
   Kirkwood Community College
   Klauer Manufacturing Co.
   Klinger Companies, Inc.
   Koch Inc.
   Kreg Tool Company
   Kuder Incorporated
   Kum & Go
   Kwik Trip, Inc./Kwik Star
   Landus Cooperative
   Lane & Waterman LLP
   Larson Construction Co., Inc.
   Lauridsen Group (LGI)/The
   LDJ Manufacturing
   Lean TECHniques, Inc.
   Lean Training and Consulting
   Legacy Bridge Private Family Offices
   LeMar Industries
   Lennox Manufacturing Inc.

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   Lessing-Flynn
   Life Line Emergency Vehicles
   Lincoln Savings Bank
   Lisle Corporation/EZ Way, Inc.
   Lola's Fine Sauces Inc
   Lomont Molding, LLC
   LS2group
   Lumen
   LyondellBasell Industries
   Magna International
   Maintainer Corporation of Iowa, Inc.
   MakuSafe Corporation
   Manatt's Construction Company, Inc.
   Marion County Development Commission
   Marion Economic Development Corporation
   Marshalltown Area Chamber of Commerce
   Martin Marietta Materials
   Mason City Area Chamber of Commerce
   Master Builders of Iowa
   McGrath North
   McKee, Voorhees & Sease P.L.C.
   Meidh Corporation
   Merchants Distribution Service
   MercyOne
   Meridian Business
   Merrill Manufacturing Co.
   Meta
   Metalcraft, Inc.
   MH Equipment Company
   MHCS
   Microsoft Corporation
   MidAmerican Energy Company
   Midland Power Cooperative
   Midwest Speakers Bureau, Inc.
   MidWestOne Bank
   Mills-Shellhammer-Puetz
   Miron Construction
   Missouri River Energy Services
   MMIT Business Solutions Group
   Momentum Studios

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   Mount Pleasant Area Chamber Alliance
   Muscatine Power and Water
   Musco Corporation
   NAI Iowa Realty Commercial
   National Federation of Ind. Bus.
   NCMIC Group, Inc.
   NCP Inc
   Nelson Co.\The
   Nelson Electric Company LC
   Neumann Brothers, Inc.
   Neumann Monson Architects
   Newton Development Corporation
   Next Level Ventures
   NextEra Energy Duane Arnold Energy Center
   Nishnabotna Valley REC
   Norplex-Micarta
   North Central NATO
   North Iowa Area Community College
   North Iowa Corridor EDC
   North Risk Partners
   Northeast Iowa Community College
   Northwest Bank
   Northwest Iowa Community College
   Northwest Iowa Power Cooperative
   Nutriom, LLC
   Nyemaster Goode, P.C.
   OCI Nitrogen Iowa
   O'Halloran International, Inc.
   Olsson
   Origin Design
   Osmundson Mfg. Co.
   Ossian, Inc.
   Outcome Consulting
   Palmer Candy Co.
   Palmer Group
   Parks Marina
   Paychex PEO
   Pella Corporation
   PepsiCo, Inc./Quaker Oats
   Percipio Workforce Solutions

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   Pharmaceutical Care Management Association
   Phelps USA
   Phillip Morris International
   PIECO Incorporated
   Pigott
   Plasticology LLC
   Plastics Unlimited
   Powers Manufacturing Co.
   Prairie Capital Advisors, Inc.
   Prairie Meadows Racetrack & Casino
   Precision Inc.
   Precision Metal Works
   Price Electric
   Principal
   Principal® Financial Network of Central Iowa
   Printing Industry Midwest
   Private Wealth Asset Management
   ProCircular, Inc.
   Product Development Partners, LLC
   Products Inc.
   Progressive Processing-Dubuque
   Proliant Meat Ingredients
   QPS Employment Group
   R & R Realty Group
   Raccoon Valley Electric Cooperative
   Rada Mfg. Co.
   Ramco Innovations
   Ranco Fertiservice, Inc.
   Ranger Power
   Rasch Construction Inc.
   Raymon Enterprises, Inc.
   Rayser Holdings, Inc.
   RDG Planning and Design
   Recoop Disaster Insurance
   Red Boot Distillery
   Red Star Yeast Co.
   REF Iowa
   Rice Companies
   Riley Resource Group
   Ritchie Industries

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   Riverstone Group, Inc.
   ROC Management & Associates
   RockWay Wealth Partners
   Rosenboom Machine & Tool Inc.
   RSM US LLP
   Ruan
   Russell
   Ryan Companies US, Inc.
   Salary.Com LLC
   Schemmer Associates
   Schildberg Construction Company, Inc.
   Security National Bank of Iowa
   Segra
   Seneca Foundry, Inc.
   ServiceMaster by Rice
   Sethness Roquette
   SHAZAM
   Sheet Metal Contractors of Iowa Inc.
   Shelby County Chamber of Commerce & Industry
   Shine Bros. Corp.
   Shive Hattery, Inc.
   Signarama-Ankeny/YESCO Des Moines
   Silver Shutter Productions
   Simpson College
   Siouxland Chamber of Commerce
   SMIco Pallet & Sawmill
   Soap Creek Resources
   Solventum
   SOO Green HVDC Link
   Sorem Mfg. Co.
   Southeastern Community College
   Southwestern Community College
   Spencer Municipal Utilities
   Spindustry
   SSAB Americas
   Standard Distribution Co.
   Standard Golf Co.
   Stanley Consultants
   State Steel
   Steffensmeier Welding & Manufacturing, Inc.

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   Stellar Industries, Inc
   Storey Kenworthy | Workspace
   Story Construction
   Strategic America
   Strategic Insights Inc.
   Straub Marketing
   Sudenga Industries, Inc.
   Sukup Manufacturing Co.
   Sullivan & Ward, P.C.
   Summit Carbon Solutions
   Swartz + Associates
   Tassel Ridge Winery
   Taylor Management Systems
   Taylor REP
   Technical Services Inc
   Tecton Industries, Inc.
   Temp Associates
   Tero International, Inc.
   Terracon Consultants, Inc.
   The Boeing Company
   The Bridge Home
   The Iowa Clinic, P.C.
   The Overture Group Iowa, LLC
   Thomas Mfg. Co., Inc.\R. J.
   Thombert, Inc.
   Todd & Sargent
   Toggle, Inc.
   Toyne, Inc.
   Tradesmen International
   Transamerica
   Transworld Business Advisors North
   Tri-City Group
   Trilix Marketing Group
   Trinity Consultants, Inc.
   Triplett Enterprises LTD
   TrueNorth Companies LLC
   TruStage
   Turner Construction Company
   TurnKey Associates L.C.
   Tyson Foods

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   UFG Insurance
   UHY
   UNI Advance Iowa
   Union Pacific Railroad
   United Equipment Accessories, Inc.
   United Parcel Service/UPS
   United States Gypsum Co. / USG
   Universal Industries, Inc.
   Universal Printing Services
   University of Iowa, Tippie College of Business
   University of Northern Iowa Business & Community Services
   Upper Iowa University Fayette Campus
   Van Diest Supply Company
   Van Meter Inc.
   VentureNet Iowa
   Veridian Credit Union
   Verizon Wireless
   Vermeer Corporation
   Vernon Co.\The
   Waldinger Corporation\The
   Wapsie Valley Creamery
   Weaton Companies
   Webspec Design LLC
   Weiler
   Weitz Company \The
   Wellmark Blue Cross & Blue Shield
   Wellpoint
   Wells Enterprises, Inc.
   Wells Fargo Bank Iowa, N.A.
   Wells Mfg. Corp.
   West Des Moines Chamber of Commerce
   Western Iowa Tech Community College
   Whitfield & Eddy Law
   Wilson Trailer Company
   Windstar Lines, Inc
   Winnebago Industries, Inc.
   Winn-Worth Betco
   Wixted & Company
   Wolf Carbon Solutions
   Women Lead Change

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   Woodruff Construction, LLC
   World Class Industries, Inc.
   Xpedition Archery
   Yeoman & Company
   Zip's
   Zirous, Inc.




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